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                                 United States District Court
                                         EASTERN DISTRICT OF TEXAS
                                             SHERMAN DIVISION

    GINA PIKE                                                  §
                                                               §
    v.                                                         §    CIVIL ACTION NO. 4:17-cv-00772
                                                               §    JUDGE MAZZANT
    HARTFORD LIFE AND                    ACCIDENT              §
    INSURANCE COMPANY                                          §

                                            SCHEDULING ORDER

        The Court, after reviewing the case management report required by Federal Rule of Civil
Procedure 26(f), and conferring with the parties either by e-mail or scheduling conference, enters
this case-specific order which controls disposition of this action pending further order of the Court.
The following actions shall be completed by the date indicated.1


                                                   DEADLINES


April 10, 2018                                Deadline to add parties.
August 28, 2018
                                              Mediation must occur by this date.
6 weeks before mediation
                                              Date by which the parties shall notify the Court of the name,
deadline                                      address, and telephone number of the agreed-upon mediator,
                                              or request that the Court select a mediator, if they are unable
                                              to agree on one.

May 8, 2018                                   Plaintiff's disclosure of expert testimony pursuant to Fed.
                                              R. Civ. P. 26(a)(2) and Local Rule CV-26(b).

May 22, 2018                                  Deadline for Plaintiff to file amended pleadings.
                                              (A motion for leave to amend is required.)

June 5, 2018                                  Defendant’s disclosure of expert testimony pursuant to Fed.
                                              R. Civ. P. 26(a)(2) and Local Rule CV-26(b)

June 5, 2018                                  Deadline for Defendant’s final amended pleadings.
                                              (A motion for leave to amend is required.)

6 weeks after disclosure                      Deadline to object to any other party’s expert witnesses.
1
  If a deadline falls on a Saturday, Sunday, or a legal holiday as defined in Fed. R. Civ. P. 6, the effective date is the
first federal court business day following the deadline imposed.
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of an expert is made                         Objection shall be made by a motion to strike or limit expert
                                             testimony and shall be accompanied by a copy of the expert’s
                                             report in order to provide the court with all the information
                                             necessary to make a ruling on any objection.

June 4, 2018                                 Deadline for motions to dismiss, motions for summary
                                             judgment, or other dispositive motions.

August 14, 2018                              All discovery shall be commenced in time to be completed by
                                             this date.

November 23, 2018                            Notice of intent to offer certified records

November 23, 2018                            Counsel and unrepresented parties are each responsible for
                                             contacting opposing counsel and unrepresented parties to
                                             determine how they will prepare the Joint Final Pretrial Order
                                             (See www.txed.uscourts.gov) and Joint Proposed Jury
                                             Instructions and Verdict Form (or Proposed Findings of Fact
                                             and Conclusions of Law in non-jury cases).

November 30, 2018                            Video Deposition Designation due. Each party who proposes
                                             to offer a deposition by video shall serve on all other parties
                                             a disclosure identifying the line and page numbers to be
                                             offered. All other parties will have seven calendar days to
                                             serve a response with any objections and requesting cross-
                                             examination line and page numbers to be included. Counsel
                                             must consult on any objections and only those which cannot
                                             be resolved shall be presented to the court. The party who
                                             filed the initial Video Deposition Designation is responsible
                                             for preparation of the final edited video in accordance with
                                             all parties’ designations and the Court’s rulings on objections.

December 4, 2018                             Motions in limine due.
                                             File Joint Final Pretrial Order. (See www.txed.uscourts.gov).

December 21, 2018                            Response to motions in limine due.2




2
  This is not an invitation or requirement to file written responses. Most motions in limine can be decided without a
written response. But, if there is particularly difficult or novel issue, the Court needs some time to review the matter.
To save time and space respond only to items objected to. All others will be considered to be agreed. Opposing
counsel shall confer in an attempt to resolve any dispute over the motions in limine within five calendar days of the
filing of any response. The parties shall notify the court of all the issues which are resolved.
                                                           2
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                                            File objections to witnesses, deposition extracts, and exhibits,
                                            listed in pre-trial order.3 (This does not extend the deadline
                                            to object to expert witnesses) (Provide the exhibit objected to
                                            in the motion or response). If numerous objections are filed
                                            the court may set a hearing prior to docket call.

                                            File Proposed Jury Instructions/Form of Verdict (or Proposed
                                            Findings of Fact and Conclusions of Law).

Date will be set by court.                  If numerous objections are filed the court may set a hearing
Usually within 10 days prior to             to consider all pending motions and objections.
the Final Pretrial Conference.

January 4, 2019                             Final Pretrial Conference at 9:00 a.m. at the Paul Brown
                                            United States Courthouse located at 101 East Pecan Street in
                                            Sherman, Texas. Date parties should be prepared to try case.
                                            All cases on the Court’s Final Pretrial Conference docket for
                                            this day have been set at 9:00 a.m. However, prior to the Final
                                            Pretrial Conference date, the Court will set a specific time
                                            between 9:00 a.m. and 4:00 p.m. for each case, depending on
                                            which cases remain on the Court’s docket.

To be determined                            10:00 a.m. Jury selection and trial at the Paul Brown United
                                            States Courthouse located at 101 East Pecan Street in
                                            Sherman, Texas. Cases that remain for trial following the
                                            Court’s Pretrial docket will be tried between February 4,
                                            2019, and March 1, 2019. A specific trial date in this time
                                            frame will be selected at the Final Pretrial Conference.

                                          SCOPE OF DISCOVERY

        Modification. Taking into account the needs of the case, the amount in controversy, the
parties’ resources, the importance of the issues at stake in the litigation, and the importance of the
proposed discovery in resolving the issues, the Court modifies the parameters of discovery in the
following respects. See Fed. R. Civ. P. 26(b)(2).
        Disclosure. The parties are reminded of the requirement, set out in this court’s Initial Order
Governing Proceedings, to have already disclosed, without awaiting a discovery request,
information in addition to that required by Fed. R. Civ. P. 26, including names of persons likely to
have, and documents containing, information “relevant to the claim or defense of any party.”

3
 Within five calendar days after the filing of any objections, opposing counsel shall confer to determine whether
objections can be resolved without a court ruling. The parties shall notify the court of all issues which are resolved.
The court needs a copy of the exhibit or the pertinent deposition pages to rule on the objection.
                                                          3
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        If there are any questions about whether information is “relevant to the claim or defense of
any party” review Local Rule CV-26(d). A party that fails to timely disclose any of the information
required to be disclosed by order of this court or by the Federal Rules of Procedure, will not,
unless such failure is harmless, be permitted to use such evidence at trial, hearing or in support of
a motion.
        Electronic Discovery. Electronically stored information will be produced in hard copy
form or multi-page TIFF format, unless the parties agree otherwise.
        The parties are excused from the pretrial disclosure requirements set forth in Federal Rule
of Civil Procedure 26(a)(3), as such disclosure is cumulative of this court’s pre-trial order
procedures.

                                     DISCOVERY DISPUTES

         In the event the parties encounter a discovery dispute, no motions to compel may be filed
until after the parties fulfill the “meet and confer” requirement imposed by this Court’s Local Rule
CV-7(h). If the parties are unable to resolve the dispute without court intervention, the parties
must then call the Court’s chambers to schedule a telephone conference regarding the subject
matter of the dispute prior to filing any motion to compel. After reviewing the dispute, the Court
will resolve the dispute, order the parties to file an appropriate motion, or direct the parties to call
the discovery hotline.
         A magistrate judge is available during business hours to immediately hear discovery
disputes and to enforce provisions of the rules. The hotline number is (903) 590-1198. See Local
Rule CV-26(e).

                                           RESOURCES

        The Eastern District of Texas website (http://www.txed.uscourts.gov) contains information
about Electronic filing, which is mandatory, Local Rules, telephone numbers, general orders,
frequently requested cases, the Eastern District fee schedule, and other information. The
electronic filing HelpLine is 1-866-251-7534.

                                          COMPLIANCE

        A party is not excused from the requirements of this scheduling order by virtue of the fact
that dispositive motions are pending, the party has not completed its investigation, the party
challenges the sufficiency of the opposing party’s disclosure or because another party has failed
to comply with this order or the rules.
        Failure to comply with relevant provisions of the Local Rules, the Federal Rules of Civil
Procedure or this order may result in the exclusion of evidence at trial, the imposition of sanctions
by the Court, or both. If a fellow member of the Bar makes a just request for cooperation or seeks
scheduling accommodation, a lawyer will not arbitrarily or unreasonably withhold consent.


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    However, the Court is not bound to accept agreements of counsel to extend deadlines imposed by
    rule or court order. See Local Rule AT-3(j).

                                                 TRIAL

            The deadlines for pre-trial matters, such as exchanging exhibits, and objections, are
    intended to reduce the need for trial objections, side-bar conferences, and repetitive presentation
    of evidentiary predicates for clearly admissible evidence. Counsel should be familiar with the
    evidence display system available in the courtroom. Copies of exhibits which will be handed to
    witnesses should be placed in a three ring binder, with an additional copy for the court. (To make
    it easy to direct the witness to the correct exhibit while on the stand, Plaintiff should use a dark
    colored binder such as black or dark blue. Defendant should use a light colored binder such as
    white, red, or light blue.) Alternatively, if exhibits have been scanned and will be presented via a
    computer projection system, be sure there is a way for the court to view or read them separately
    so as to be able to understand motions and objections.
            Counsel are responsible for informing their clients and witnesses about courtroom dress
    requirements and protocol, such as silencing pagers and phones, and not chewing gum, reading
    newspapers, or eating.

                                          OTHER MATTERS

    1.    Please note the amendments to the Local Rules regarding motion practice. If a document
          filed electronically exceeds ten pages in length, including attachments, a paper copy of the
          filed document must be sent contemporaneously to the undersigned’s chambers in Sherman.
          See Local Rule CV-5(a)(9). Courtesy copies over twenty pages long should be bound to the
          left, and voluminous exhibits should be separated by dividers.
.   2.    If necessary, the parties should notify the court if assistance is needed in selecting a
          mediator.
    3.    Any reply or sur-reply must be filed in accordance with Local Rule CV-6 and Local Rule
          CV-7(f). The parties are reminded that “[t]he court need not wait for the reply or sur-reply
          before ruling on the motion.” Local Rule CV-7(f) (emphasis added).

    IT IS SO ORDERED

    SIGNED this 20th day of March, 2018.




                                   ___________________________________
                                   AMOS L. MAZZANT
                                   UNITED STATES DISTRICT JUDGE




                                                     5
